                                   UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TENNESSEE
                                         AT CHATTANOOGA

 UNITED STATES OF AMERICA                                      )
                                                               )       Case No. 1-09-cr-123-018
 v.                                                            )
                                                               )       COLLIER / LEE
 CHRISTOPHER JAMES PIERCE                                      )

                                  REPORT AND RECOMMENDATION

         Upon Defendant’s motion, the Court ordered a mental evaluation of Defendant [Doc. 282].

 After completion of the mental evaluation, a forensic report regarding the evaluation was received

 by the Court. The findings set forth in the forensic report are that Defendant is not currently

 suffering from a mental disease or defect rendering him mentally incompetent to the extent he is

 unable to understand the nature and consequences of the proceedings filed against him or properly

 assist in his defense, and that he is competent to stand trial. The findings regarding sanity are that

 Defendant was sane at the time of the alleged offense, and he did not suffer from a mental illness

 that interfered with his ability to appreciate the nature and quality or wrongfulness of his actions.

 Defendant has filed a waiver of any competency hearing [Doc. 455]. Given the waiver and the

 findings contained in the forensic report, I RECOMMEND that Defendant be found competent to

 understand the nature and consequences of the proceedings against him, able to assist in his defense,

 and competent to stand trial.1

                  SO ORDERED:

                  ENTER.
                                                      s/Susan K. Lee
                                                      SUSAN K. LEE
                                                      UNITED STATES MAGISTRATE JUDGE




         1
           A party may serve and file objections to this report and recommendation within fourteen (14) days after
 being served with a copy of this report and recommendation. Failure to object in accordance with Fed. R. Crim. P.
 59 waives a party’s right to review.
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